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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO
                                ___________________________


UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                                                    1:19-cr-01991 KWR

ANTONIO CARRILLO,

               Defendant.


                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court upon Defendant’s Motion to Dismiss or

Suppression of Evidence, filed on March 26, 2020 (Doc. 67). Having reviewed the parties’

pleadings, the Court finds that Defendant’s motion is not well-taken at this time and, therefore, is

DENIED WITHOUT PREJUDICE.

                                        BACKGROUND

       On July 9, 2019, the Grand Jury returned an indictment charging Defendant with one count

of transmitting in interstate or foreign commerce a communication containing a threat to injure the

person of another, in violation of 18 U.S.C. § 875(c).

       The indictment provides:

        On or about June 19, 2019, in Valencia County, in the District of New Mexico, the
       defendant, ANTONIO CARRILLO, knowingly and willfully did transmit in
       interstate commerce via Facebook, an interstate social media company, a
       communication, specifically a social media post, to the American Civil Liberties
       Union, and the communication contained a threat to injure American Civil Liberties
       Union Personnel.

Doc. 10. The alleged threat was posted as a comment on a Facebook thread, and reads as follows:
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       “You Bitches Want a Physical Civil War.. I’m Game..I’ll bring My Farm
       Implements and They will Never find your Bodies..AND for Fun I’ll BURN
       Every ACLU Office in the State.. GO TRUMP GO.!”

Doc. 3 at 6 (complaint). This post was disclosed to Defendant in discovery. Defendant also

allegedly made the following post on Twitter publicly directed to @realDonaldTrump:

       “@realDonaldTrump, YOU Say YOU are going to DEPORT Thousands.. People
       are Saying,; I’LL believe it when I see it..Personally When Civil War Starts.. I’m
       Going to Burn Down EVERY ACLU Office in New Mexico.”

Doc. 3 at 6. The indictment charges Defendant for the Facebook post, but not the Twitter post.

       Defendant previously filed a motion to dismiss the indictment for failing to include the true

threat element and a motion for bill of particulars. The Court denied the motions. Docs. 56, 68.

                                          DISCUSSION

       Defendant asserts that the Government destroyed evidence that was necessary to his

defense and violated his due process rights. He seeks suppression of evidence or dismissal of the

indictment pursuant to Trombetta and Youngblood. Specifically, he asserts that the Government

had in its possession the rest of the Facebook thread in which he was participating. Defendant

believes that this Facebook thread is necessary to provide context for his allegedly threatening post

and is necessary to show that his Facebook post did not contain a true threat.

I.     Due Process and Destruction of Evidence.

       The Due Process clause of the Constitution imposes a limited duty on the government to

preserve “evidence that might be expected to play a significant role in the suspect’s defense.”

California v. Trombetta, 467 U.S. 479, 488-89 (1984); see also Arizona v. Youngblood, 488 U.S.

51, 58 (1988)). The Tenth Circuit has stated the elements of Trombetta and Youngblood claims as

follows:

       To qualify as constitutionally material…the evidence must: (1) “possess an
       exculpatory value that was apparent [to the police] before the evidence was

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       destroyed,” and (2) “be of such a nature that the defendant would be unable to
       obtain comparable evidence by other reasonably available means.” Id. at 489, 104
       S.Ct. 2528. In addition, “if the exculpatory value of the evidence is indeterminate
       and all that can be confirmed is that the evidence was ‘potentially useful’ for the
       defense,” then the defendant must also show (3) “that the government acted in bad
       faith in destroying the evidence.” United States v. Bohl, 25 F.3d 904, 910 (10th
       Cir.1994) (quoting Arizona v. Youngblood, 488 U.S. 51, 58, 109 S.Ct. 333, 102
       L.Ed.2d 281 (1988)).
United States v. Ludwig, 641 F.3d 1243, 1253–54 (10th Cir. 2011). Defendant bears the burden

on Trombetta and Youngblood claims, and has the burden of asserting facts relevant to the elements

at issue. Id.; United States v. Parker, 72 F.3d 1444, 1452 (10th Cir. 1995); see also United States

v. Glass, 128 F.3d 1398 (10th Cir.1997) (“The defendant bears the burden of showing there are

material facts in dispute, and an evidentiary hearing is only required when the motion to suppress

‘raise [s] factual allegations that are sufficiently definite, specific, detailed, and nonconjectural to

enable the court to conclude that contested issues of fact… are in issue.”).

       The Government asserted that Defendant could obtain the desired Facebook posts by

serving a Rule 17(c) subpoena on Facebook. Therefore, the Government argues that Defendant

cannot show that he is “unable to obtain comparable evidence by other reasonably available

means.” Trombetta, 467 U.S. at 489. The Court agrees.

       Defendant does not argue that Facebook would be unable to produce the desired Facebook

posts. Rather, he argues that he does not have the burden to obtain them from Facebook. However,

Defendant bears the burden to demonstrate that he would be unable to obtain comparable evidence

by other reasonably available means. United States v. Parker, 72 F.3d 1444, 1452 (10th Cir. 1995);

United States v. Harry, 816 F.3d 1268, 1278 n.3 (10th Cir. 2016) (Defendant must show he would

be unable to obtain comparable evidence by other reasonably available means). Here, as explained

below, the Court concludes that a Rule 17(c) subpoena under these circumstances could be a

reasonably available means to obtain the Facebook posts. The Government asserts it would not



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oppose a subpoena, and the parties have asserted no reason why one could not be issued. Both

parties agree that the information in the posts are admissible. Therefore, the Court concludes that

Defendant has not carried his burden to show that he cannot obtain the Facebook posts through

reasonably available means.

       Defendant also argues that this “comparable evidence” element is part of a Trombetta claim

but not a Youngblood claim. The Court disagrees. The law as stated in Ludwig, supra, indicates

that Defendant must show as part of a Youngblood claim bad faith in addition to the unavailability

of comparable evidence. Moreover, the Tenth Circuit has denied a “bad faith” Youngblood claim

because a defendant had failed to show that he would be unable to obtain comparable evidence by

other reasonably available means. United States v. Ludwig, 641 F.3d 1243, 1253 (10th Cir. 2011)

(discussing bad faith element and denying claim because evidence was available through

Trooper’s testimony); Cannon v. Polk Cty./Polk Cty. Sheriff, 68 F. Supp. 3d 1267, 1287 (D. Or.

2014) (Trombetta and Youngblood claims both require that comparable evidence is not available),

aff'd sub nom. Cannon v. Polk Cty., 702 F. App'x 527 (9th Cir. 2017).

       Therefore, Defendant has failed to carry his burden to demonstrate that he would not be

able to obtain the Facebook posts by other reasonably available means. If Defendant wishes to

pursue obtaining the Facebook posts, he may file a motion for a Rule 17(c) subpoena. If Facebook

fails to produce the relevant posts, Defendant may move for a Trombetta/Youngblood hearing and

the Court will set this motion for hearing.

       However, the Government intends to offer agent testimony at trial about the content of the

Facebook posts. At the hearing, Defendant will have to show why the agents would not be able to

testify at trial about the Facebook posts, and why this testimony would not be evidence comparable

to the Facebook posts themselves. See United States v. Ludwig, 641 F.3d 1243, 1253 (10th Cir.



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2011) (trooper testimony was comparable evidence to destroyed video); United States v.

Bloomgren, 42 F. App'x 147, 151 (10th Cir. 2002) (destruction of fingerprint evidence potentially

showing that others had access to rifle did not rise to level of Trombetta claim where other

evidence, including testimony and photographs, showed that others had access to house and rifle);

United States v. Parker, 72 F.3d 1444, 1452 (10th Cir. 1995) (Defendant could have called Trooper

who was on scene to testify about what the missing video would have shown, and therefore

Defendant’s Trombetta claim failed). At this time, Defendant has not shown why the testimony

of the agents would not be “comparable evidence.”

II.    Rule 17(c) Subpoena could be a reasonably available means to obtain the Facebook

       posts.

       This Court has often issued Rule 17 subpoenas to third parties where defendants seek

specific documents or video evidence. See, e.g., United States v. Zepeda, Jr., 19-cr-1423, Doc. 32

(D.N.M); United States v. Leon Raymond Sanchez, 19-cr-589, Doc. 43 (D.N.M.).

       The plain language of Rule 17(c) authorizes the court to “direct the witness to produce the

designated items in court before trial or before they are to be offered in evidence,” and once “the

items arrive,” to “permit the parties and their attorneys to inspect all or part of them.” Fed. R.

Crim. P. 17(c). Accordingly, a party seeking issuance of a subpoena duces tecum under Rule 17(c)

must establish:

       (1) that the documents are evidentiary and relevant; (2) that they are not otherwise
       procurable reasonably in advance of trial by exercise of due diligence; (3) that the
       party cannot properly prepare for trial without such production and inspection in
       advance of trial and that the failure to obtain such inspection may tend unreasonably
       to delay the trial; and (4) that the application is made in good faith and is not
       intended as a general “fishing expedition.”

United States v. Abdush-Shakur, 465 F.3d 458, 467 (10th Cir. 2006) (quoting Nixon, 418 U.S. at

699-700). In order to meet this burden, the moving party “must clear three hurdles: (1) relevancy;

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(2) admissibility; and (3) specificity.” United States v. Morris, 287 F.3d 985, 991 (10th Cir. 2002)

(quoting Nixon, 418 U.S. at 700). It is insufficient that the requested evidence “may have some

potential of relevance and evidentiary use.”      Sellers, 275 F.R.D. at 624.     “The specificity

requirement also prevents a subpoena duces tecum issued pursuant to Rule 17(c) from being used

as a ‘fishing expedition to see what may turn up.’” Id. (quoting Bowman Dairy, 341 U.S. at 221).

       The Government does not oppose the issuance of a subpoena. Defendant asserts that he

does not have access to his Facebook account, and the posts have been removed from public

viewing by Facebook. However, he has not given any reason why the posts could not be produced

by subpoena. Both parties appear to agree that the Facebook posts are admissible. Therefore, the

Court sees no reason why a Rule 17(c) subpoena is not a reasonably available means for Defendant

to obtain the relevant Facebook posts.

                                         CONCLUSION

       The Court denies the motion without prejudice because Defendant has not yet shown that

the Facebook posts are unavailable through a Fed. R. Crim. P. 17(c) subpoena. If Defendant moves

for a Rule 17(c) subpoena and Facebook does not produce the relevant posts, then Defendant may

renew this motion by seeking a Trombetta/Youngblood hearing. At that hearing, however,

Defendant will have to show that the testimony of the agents who viewed the post is not

“comparable evidence” to the allegedly destroyed Facebook posts.

       IT IS THEREFORE ORDERED that Defendant’s Motion to Dismiss or Suppression of

Evidence (Doc. 67) is DENIED WITHOUT PREJUDICE for reasons described in this

Memorandum Opinion and Order.


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                                                     KEA W. RIGGS
                                                     UNITED STATES DISTRICT JUDGE

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